875 F.2d 868
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Franklin J. CRISTIANO, Defendant-Appellant.
    No. 88-3940.
    United States Court of Appeals, Sixth Circuit.
    May 3, 1989.
    
      1
      Before RALPH B. GUY, Jr. and ALAN E. NORRIS, Circuit Judges, and ROBERT HOLMES BELL, District Judge.*
    
    ORDER
    
      2
      On November 14, 1988, this Court entered an order directing the defendant to show cause why his criminal appeal should not be dismissed for failure to file a timely notice of appeal.  The defendant has not responded to that order.
    
    
      3
      Compliance with the time requirements of Fed.R.App.P. 4(b) is a mandatory and jurisdictional requirement which this Court cannot waive or extend.  United States v. Murifield, 764 F.2d 436, 437 (5th Cir.1985) (per curiam);  see also Browder v. Director, Department of Corrections of Illinois, 434 U.S. 257, 264 (1978).  Since the defendant has neither sought nor received an extension of time from the district court, his appeal must be dismissed for lack of jurisdiction.
    
    
      4
      Therefore, it is ORDERED that this appeal is dismissed sua sponte.    Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Robert Holmes Bell, U.S. District Judge for the Western District of Michigan, sitting by designation
      
    
    